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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


WITCHES BREW TOURS LLC,                       §      Case No. 2:21-cv-02051-BWA-MBN
Plaintiff,                                    §      (Antitrust)
                                              §
v.                                            §
                                              §
NEW ORLEANS ARCHDIOCESAN                      §      NOTICE OF APPEAL
CEMETERIES d.b.a. NEW ORLEANS                 §
CATHOLIC CEMETERIES and                       §
CEMETERY TOURS NOLA LLC,                      §
Defendants.                                   §


       Notice is hereby given that the Association of Cemetery Tour Guides and Companies L3C

d.b.a. New Orleans Association of Cemetery Tour Guides and Companies, sole plaintiff in the

above-styled case, hereby appeals to the United State Court of Appeals for the Fifth Circuit from

an order, denying plaintiff’s motion for preliminary injunction for failure to show irreparable

injury, entered in this case on the 27th day of January 2022, R. Doc. 41.


       The same order also found that plaintiff had failed to demonstrate antitrust standing for

failure to adequately demonstrate a nexus with interstate commerce. Plaintiff disagrees with this

finding, but the point is now moot because plaintiff filed a second amended and supplemental

complaint on the 11th day of February 2022, R. Doc 42.




Dated: February 22, 2022                      DAVID W. NANCE LAW FIRM LLC


                                                     /s/ David W. Nance
                                              By: _____________________________

                                              David W. Nance (La. Bar #25467)
                                              DAVID W. NANCE LAW FIRM, LLC
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                                             COUNSEL FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of February 2022, I electronically filed the foregoing

with the Clerk of Court, by using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.



                                                     /s/ David W. Nance
                                             By:     _____________________________
                                                     DAVID W. NANCE
